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                                #:324965


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14    Attorneys for MGA Parties
15                            UNITED STATES DISTRICT COURT

16                       CENTRAL DISTRICT OF CALIFORNIA

17                                 SOUTHERN DIVISION

18    CARTER BRYANT, an individual         Case No. CV 04-9049 DOC (RNBx)
19               Plaintiff,                Consolidated with Case No. CV 04-9059
                                           and Case No. CV 05-2727
20         v.
                                           SECOND SUPPLEMENTAL
21    MATTEL, INC., a Delaware             DECLARATION OF STEPHEN
      corporation,                         SCHULTZ IN SUPPORT OF MGA
22                                         PARTIES’ MOTIONS FOR FEES
                 Defendant.                AND COSTS
23
                                           Judge: Hon. David O. Carter
24
      AND CONSOLIDATED ACTIONS
25
26
27
28
                                                       SECOND SUPPLEMENTAL SCHULTZ DECLARATION
                                                                        CV-04-9049 DOC (RNBX)
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  1          I, Stephen Schultz declare as follows:
  2          1.     I am currently the Vice President Controller at MGA Entertainment,
  3   Inc. I have personal knowledge of the facts set forth in this Declaration and, if
  4   called as a witness, could and would testify competently to such facts under oath.
  5          2.     In my role as Controller, I supervise accounting and finance within
  6   MGA. I am familiar with the invoices that MGA has received and processed from
  7   legal service providers, experts, vendors and other third parties in connection with
  8   this litigation.
  9          3.     This declaration supplements my declarations of May 5 and May 19,
10    2011. In particular, attached to this declaration are additional cost invoices that
11    were recently received and/or inadvertently omitted from the MGA Parties’
12    previous filings in connection with their motion for fees and costs pursuant to the
13    Copyright Act and the Uniform Trade Secret Act (Dkt. Nos. 10539 & 10542). I am
14    informed and believe that unredacted versions of these cost invoices have been
15    submitted to the Discovery Master pursuant to his June 20, 2011 Report and
16    Recommendation.
17           4.     Attached hereto as Exhibit 1 is a true and correct copy of an invoice
18    from Mission Inn for the period of May 13 to May 31, 2008. The total amount
19    charged on this invoice is $75,541.
20           5.     Attached hereto as Exhibit 2 is a true and correct copy of an invoice
21    from Mission Inn for the period of June 1 to June 30, 2008. The total amount
22    charged on this invoice is $150,913.37.
23           6.     Attached hereto as Exhibit 3 is a true and correct copy of an invoice
24    from Mission Inn for the period of July 1 to July 31, 2008. The total amount
25    charged on this invoice is $111,538.65.
26           7.     Attached hereto as Exhibit 4 is a true and correct copy of an invoice
27    from Mission Inn for the period of August 1 to August 8, 2008. The total amount
28    charged on this invoice is $30,314.42.
                                                -1-           SECOND SUPPLEMENTAL SCHULTZ DECLARATION
                                                                               CV-04-9049 DOC (RNBX)
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  1         8.     Attached hereto as Exhibit 5 is true and correct copy of an invoice
  2   from Mission Inn for the period of August 8 to August 21, 2008. The total amount
  3   charged on this invoice is $68,108.87.
  4         9.     Attached hereto as Exhibit 6 is a true and correct copy of an invoice
  5   from the Hyatt Regency Hotel for the period of December 28, 2010 to January 28,
  6   2011. The total amount charged on this invoice is $71,981.97.
  7         10.    Attached hereto as Exhibit 7 is a true and correct copy of an invoice
  8   from the Hyatt Regency Hotel for the period of March 28 to April 28, 2011. The
  9   total amount charged on this invoice is $48, 124.36.
10          11.    Attached hereto as Exhibit 8 is a true and correct copy of an invoice
11    from Encore Discovery Solutions for April and May, 2011. The total amount
12    charged on this invoice is $115,339.25.
13          12.    Attached hereto as Exhibit 9 is a true and correct copy an invoice from
14    Encore Discovery Solutions for May and June, 2011. The total amount charged on
15    this invoice is $112.632.63.
16          13.    Attached hereto as Exhibit 10 is a true and correct copy of an invoice
17    from Executive Presentations for the period of April 1 to April 30, 2011. The total
18    amount charged on this invoice is $71,309.70.
19          14.    Attached hereto as Exhibit 11 is a true and correct copy of an invoice
20    from Arent Fox for the period of March, 2011. The total amount charged on this
21    invoice is $55,818.34.
22          15.    Attached hereto as Exhibit 12 is a true and correct copy of an invoice
23    from Arent Fox for the period of April, 2011. The total amount charged on this
24    invoice is $15,198.74.
25          16.    Attached hereto as Exhibit 13 is a true and correct copy of an invoice
26    from Arent Fox for the period of July, 2009. The total amount charged on this
27    invoice is $6,832.96.
28          17.    Attached hereto as Exhibit 14 is a true and correct copy of an invoice
                                                -2-          SECOND SUPPLEMENTAL SCHULTZ DECLARATION
                                                                              CV-04-9049 DOC (RNBX)
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  1   from Stroz Friedberg for the period ending October 31, 2010. The total amount
  2   charged on this invoice is $188,163.93.
  3         18.    Attached hereto as Exhibit 15 is a true and correct copy of an invoice
  4   from Stroz Friedberg for the period ending March 31, 2011. The total amount
  5   charged on this invoice is $85.80.
  6         19.    Attached hereto as Exhibit 16 is a true and correct copy of an invoice
  7   from Stroz Friedberg for the period ending March 31, 2011. The total amount
  8   charged on this invoice is $15,049.38.
  9         20.    Attached hereto as Exhibit 17 is a true and correct copy of an invoice
10    from Stroz Friedberg for the period ending April 30, 2011. The total amount
11    charged on this invoice is $85.80.
12          21.    Attached hereto as Exhibit 18 is a true and correct copy of an invoice
13    from Stroz Friedberg for the period ending April 30, 2011. The total amount
14    charged on this invoice is $42,015.55.
15          22.    Attached hereto as Exhibit 19 is a true and correct copy of an invoice
16    from Stroz Friedberg for the period ending May 31, 2011. The total amount
17    charged on this invoice is $85.80.
18          23.    Attached hereto as Exhibit 20 is a true and correct copy of an invoice
19    from Stroz Friedberg for the period ending May 31, 2011. The total amount
20    charged on this invoice is $16,798.10.
21          24.    Attached hereto as Exhibit 21 is a true and correct copy of an invoice
22    from A&E Court Reporters dated November 5, 2010. The total amount charged on
23    this invoice is $1,735.45.
24          25.    Attached hereto as Exhibit 22 is a true and correct copy of an invoice
25    from A&E Court Reporters dated January 7, 2011. The total amount charged on
26    this invoice is $1,872.78.
27          26.    Attached hereto as Exhibit 23 is a true and correct copy of an invoice
28    from A&E Court Reporters dated February 15, 2011. The total amount charged on
                                                -3-         SECOND SUPPLEMENTAL SCHULTZ DECLARATION
                                                                             CV-04-9049 DOC (RNBX)
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  1   this invoice is $1,216.83.
  2         27.    Attached hereto as Exhibit 24 is a true and correct copy of an invoice
  3   from A&E Court Reporters dated February 28, 2011. The total amount charged on
  4   this invoice is $1,607.09.
  5         28.    Attached hereto as Exhibit 25 is a true and correct copy of an invoice
  6   from A&E Court Reporters dated March 1, 2011. The total amount charged on this
  7   invoice is $1,219.45.
  8         29.    Attached hereto as Exhibit 26 is a true and correct copy of an invoice
  9   from A&E Court Reporters dated March 9, 2011. The total amount charged on this
10    invoice is $1,346.67.
11          30.    Attached hereto as Exhibit 27 is a true and correct copy of an invoice
12    from A&E Court Reporters dated March 25, 2011. The total amount charged on
13    this invoice is $2,001.02.
14          31.    Attached hereto as Exhibit 28 is a true and correct copy of an invoice
15    from A&E Court Reporters dated April 1, 2011. The total amount charged on this
16    invoice is $959.57.
17          32.    Attached hereto as Exhibit 29 is a true and correct copy of an invoice
18    from First Legal San Francisco Legal Support dated March 31, 2011. The total
19    amount charged on this invoice is $2,761.30.
20          33.    Attached hereto as Exhibit 30 is a true and correct copy of an invoice
21    from Veritext San Francisco Reporting Co. dated April 15, 2011. The total amount
22    charged on this invoice is $807.00.
23          34.    Attached hereto as Exhibit 31 is a true and correct copy of an invoice
24    from Veritext San Francisco Reporting Co. dated April 15, 2011. The total amount
25    charged on this invoice is $987.50.
26          35.    Attached hereto as Exhibit 32 is a true and correct copy of an invoice
27    from Veritext San Francisco Reporting Co. dated April 29, 2011. The total amount
28    charged on this invoice is $1,225.00.
                                              -4-           SECOND SUPPLEMENTAL SCHULTZ DECLARATION
                                                                             CV-04-9049 DOC (RNBX)
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  1         36.    Attached hereto as Exhibit 33 is a true and correct copy of an invoice
  2   from EED dated April 30, 2011. The total amount charged on this invoice is
  3   $1,000.00.
  4         37.    Attached hereto as Exhibit 34 is a true and correct copy of an invoice
  5   from EED dated April 30, 2011. The total amount charged on this invoice is
  6   $1,000.00.
  7         38.    Attached hereto as Exhibit 35 is a true and correct copy of an invoice
  8   from EED dated May 31, 2011. The total amount charged on this invoice is
  9   $1,000.00.
10          39.    Attached hereto as Exhibit 36 is a true and correct copy of an invoice
11    from EED dated May 31, 2011. The total amount charged on this invoice is
12    $1,000.00.
13          40.    Attached hereto as Exhibit 37 is a true and correct copy of an invoice
14    from Ocean Tomo dated May 5, 2011. The total amount charged on this invoice is
15    $151,795.00.
16          41.    Attached hereto as Exhibit 38 is a true and correct copy of an invoice
17    from Ocean Tomo dated June 2, 2011. The total amount charged on this invoice is
18    $9,589.00.
19          42.    Attached hereto as Exhibit 39 is a true and correct copy of an invoice
20    from Copier Rental Inc. dated May 4, 2011. The total amount charged on this
21    invoice is $1,704.00.
22          43.    Attached hereto as Exhibit 40 is a true and correct copy of an invoice
23    from Copier Rental Inc. dated June 4, 2011. The total amount charged on this
24    invoice is $1,704.00.
25          44.    Attached hereto as Exhibit 41 is a true and correct copy of an invoice
26    from SABP Reprographics dated May 6, 2011. The total amount charged on this
27    invoice is $2,995.00.
28          45.    Attached hereto as Exhibit 42 is a true and correct copy of an invoice
                                             -5-            SECOND SUPPLEMENTAL SCHULTZ DECLARATION
                                                                             CV-04-9049 DOC (RNBX)
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  1   from SABP Reprographics dated May 17, 2011. The total amount charged on this
  2   invoice is $2,045.48.
  3         46.   Attached hereto as Exhibit 43 is a true and correct copy of an invoice
  4   from SABP Reprographics dated May 17, 2011. The total amount charged on this
  5   invoice is $25,392.72.
  6         47.   Attached hereto as Exhibit 44 is a true and correct copy of an invoice
  7   from SABP Reprographics dated May 23, 2011. The total amount charged on this
  8   invoice is $9,871.16.
  9         48.   Attached hereto as Exhibit 45 is a true and correct copy of an invoice
10    from SABP Reprographics dated May 23, 2011. The total amount charged on this
11    invoice is $2,451.05.
12          49.   Attached hereto as Exhibit 46 is a true and correct copy of an invoice
13    from International Litigation Services, Inc. dated May 11, 2011. The total amount
14    charged on this invoice is $8,515.00.
15          50.   Attached hereto as Exhibit 47 is a true and correct copy of an invoice
16    from International Litigation Services, Inc. dated June 9, 2011. The total amount
17    charged on this invoice is $4,170.00.
18          51.   Attached hereto as Exhibit 48 is a true and correct copy of an invoice
19    from Orrick, Herrington & Sutcliffe LLP dated June 10, 2011. The total amount
20    charged on this invoice is $13,952.09.
21          52.   Attached hereto as Exhibit 49 is a true and correct copy of an invoice
22    from JAMS, Inc. dated June 14, 2011. The total amount charged on this invoice is
23    $3,000.
24          53.   Attached hereto as Exhibit 50 is a true and correct copy of an invoice
25    from Skadden, Arps, Slate, Meagher & Flom LLP dated June 16, 2011. The total
26    amount charged on this invoice is $701.50.
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                                               -6-          SECOND SUPPLEMENTAL SCHULTZ DECLARATION
                                                                             CV-04-9049 DOC (RNBX)
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  1               I declare under penalty of perjury that the foregoing is true and correct
  2   and that this Declaration was executed on July 1,2011 at Van Nuys, California.
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                                             -7-             SECOND SU PPLEMENTAL SCHULTZ DECLARA T10N
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  1                                  DECLARATION OF SERVICE
  2            I declare I am a resident of the State of California and over the age of
  3   eighteen years, and not a patiy to the within action; my business address is US
  4   Legal, Inc., 800 West First Street, Suite 200B, Los Angeles, California 90012.
  5            On July 1, 2011, I served the following documents:
  6            SECOND SUPPLEMENTAL DECLARATION OF STEPHEN
               SCHULTZ IN SUPPORT OF MGA PARTIES' MOTIONS FOR FEES
  7            AND COSTS
  8                       by personally: delivering the document(s) listed above to the
                          person( s) at the address( es) set forth below:
  9
                         Counsel for MatteI. Inc.
 10                      Susan Estrich, Esq.
                         susanestrich(cl)quinnemanuel. com
 11                      Michael T. leller, Esq.
                         michaelzeller@quinnemanuel.com
 12                      John B. Quinn, Esq.
                         johnquinn@quinn~manuel.com
 13                       QUINN EMANUEL URQUHART & SULLIVAN, LLP
                          865 South Figueroa Street, 10th Floor
 14                       Los Angeles, CA 90017-2543
                          Telephone: (213) 443-3000
 15                       FacSImile: (213) 443-3100
 16
               I declare under penalty of perjury that the foregoing is true and correct.
 17
               Executed                    1, at Los Angeles, California.
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 20                                                                   OS Legal, Inc.
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